Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 1 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 2 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 3 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 4 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 5 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 6 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 7 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 8 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 9 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 10 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 11 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 12 of 76




                                 CBP 012
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 13 of 76




                                 CBP 013
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 14 of 76




                                 CBP 014
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 15 of 76




                                 CBP 015
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 16 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 17 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 18 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 19 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 20 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 21 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 22 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 23 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 24 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 25 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 26 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 27 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 28 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 29 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 30 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 31 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 32 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 33 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 34 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 35 of 76
Case 1:23-cv-00257-EAW-MJR    Document 58-1   Filed 09/23/24   Page 36 of 76



While                                     at the Peace Bridge, I
encoun
BOROWSKI, Matthew. He was referred to                               Exam.
While his vehicle was being inspected                 , BOROWSKI exited
out
of door 2. I asked BOROWSKI if he was finished with his inspection and he
told me that he was not and that he wanted to watch CBPO            while
he
was inspecting his vehicle. I requested BOROWSKI to return to the
building
until his inspection was complete. BOROWSKI stated that he wanted to stay
outside and watch the inspection. I stated to BOROWSKI that he was unable
to
watch the inspection of his vehicle and to return into door 2, and he
still
did not comply. At this time, I placed my hand on his arm and securely
escorted him into the CBP secure area located in door 2. BOROWSKI became
compliant and proceeded to door 2 without incident. BOROWSKI requested to
speak to a Supervisor. SCBPO         was apprised of the situation and
responded to BOROWSKI's request.SCBPO         explained that he is not
released from the inspection until all CBP concerns are satisfied.
BOROWSKI
was released as a US Citizen.




                                  CBP 036
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 37 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 38 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 39 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 40 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 41 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 42 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 43 of 76
 Case 1:23-cv-00257-EAW-MJR             Document 58-1         Filed 09/23/24    Page 44 of 76




On Saturday, December 14, 2013 at approximately 1810 hours while conducting outbound
operations at the Peace Bridge POE in Buffalo, NY an Ontario plated vehicle (
was stopped for an inspection. The driver of the vehicle later identified as BOROWSKI,
Matthew (              ) was immediately confrontational with the inspecting officer when asked
for the registration for the vehicle. The subject replied “for what, what is your probable cause?”
in which BOROWSKI was instructed by the Officer that probable cause was not required and the
document was requested for verification purposes. BOROWSKI then stated that “you are not
Police Officers and just a Border Guard with very little authority at best” in which he recited
some reference to law & statutes. The subject was being uncooperative, confrontational and
failed to produce his registration in a timely matter.
                                                the subject was told to pull off the road into the
secondary inspection area.
Upon making contact with the subject at the secondary staging area, BOROWSKI’S window was
now rolled almost completely up. He was asked again to produce his registration at which time
the front passenger’s car door opened and a female later identified as




Enforcement Officer CBPO-E              responded to the Peace Bridge, POE and was advised
of the events. After reviewing the events and officer statements it was determined that the
subject


                                                       BOROWSKI insisted his wife was assaulted
by CBP.

                                                     BOROWSKI throughout the inspection
was loud, argumentative and provoking, insisting he was a lawyer and attempting to recite his
interpretation of Federal law.
Due to today’s incident, BOROWKI’S prior confrontational encounters, the subjects NEXUS
card was detained and forwarded to the NEXUS enrollment office for review.
BOROWSKI departed the POE at 2057 hours.

Supervisor         and Chief CBPO          were on site for the encounter and concurred with the
retention of the Nexus cards and the




                                             CBP 044
 Case 1:23-cv-00257-EAW-MJR             Document 58-1        Filed 09/23/24     Page 45 of 76




SIDE NOTE: The subject’s three minor children were present during this encounter.

Supervisor’s Notes:

Towards the end of the inspection of Mr. Borowski and his family, Mr. Borowski was asked by
me to talk away from the public. During this talk, which lasted about ten minutes, I simply
asked Mr. Borowski what his objection(s) were to the CBP inspection process. Mr. Borowski
stated he had no objections to our process, but feels some officers get upset when their authority
is questioned.

                                                                                   He repeatedly
informs the officers that he is lawyer,
             Mr. Borowski was advised that we have a process to which he is not exempt. Mr.
Borowski was given my name and the phone number to the Nexus enrollment center if he wished
to attempt to recover his retained Nexus Card. Mr. Borowski and his family had full access to
restroom facilities and              was offered a private setting for breastfeeding. The other
children were offered snacks by CBP officers.

Chief CBPO Notes:



                                       Mr. BOROWSKI’s NEXUS card will continue to be
retained by CBP and will be deferred to the Ombudsman for a determination on current and
future NEXUS enrollment participation.




                                             CBP 045
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 46 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 47 of 76
 Case 1:23-cv-00257-EAW-MJR                 Document 58-1          Filed 09/23/24     Page 48 of 76




On April 18, 2013, an Ontario plated vehicle was encountered in the outbound lane at the Peace Bridge
Port of entry in Buffalo New York. The vehicle contained BOROWSKI, Matthew                  , COB/COC:
U.S. The subject was asked by the primary outbound Officer where he was coming from to which Mr.
Borowski answered “Im a United States Citizen.” The primary Officer again asked where are you coming
from to which Mr. Borowski then answered “A meeting” The primary outbound Officer asked Mr.
Borowski to open his trunk, Mr. Borowski asked “Under what authority?” The primary Officer then
asked Mr. Borowski to pull over to the secondary inspection area where he would explain under what
authority CBP could inspect his vehicle. Mr. Borowski began to pull over and stopped, blocking both
lanes of traffic and began yelling out his window that he wished to withdraw his application for
admission. (Mr. Borowski was outbound so we still don’t know application for admission to what.)
While turning to pull over Mr. Borowski then stopped his vehicle, he was asked and then told to drive to
the secondary inspection area. Only after several verbal commands to pull to the secondary inspection
area did Mr. Borowski comply. When in the secondary inspection area Mr. Borowski continually stated
that he was a U.S. citizen and under what authority did CBP have to inspect his vehicle. Mr. Borowski
was told that CBP had the authority to inspect both inbound and outbound traffic. Mr. Borowski was
asked and then told several times to exit his vehicle so the inspection could be completed. Only after
CBP           physically opened the door and guided Mr. Borowski out of the vehicle did he finally
comply. During questioning it was discovered that Mr. Borowski had recently taken the Bar exam and
that he was planning on becoming a lawyer. Mr. Borowski stated that he knew CBP could inspect
inbound vehicles but did not think that they could inspect outbound vehicles. Mr. Borowski continued
to question the authority of CBP for outbound inspections during the entire inspection. Attempts were
made to explain the authority of CBP by several different Officers. A              exam of the vehicle
yielded negative results. Once the inspection was complete, Mr. Borowskis Nexus card was returned to
him and he was released to travel north to Canada.




Mr. Borowski impeded the inspection by CBP by



    1.   Not answering the questions of the primary Officer.
    2.   Not obeying the request of the primary Officer to pull over.
    3.   Not obeying the Command of the primary Office to pull over.
    4.   Not obeying the request of the secondary Officer to exit the vehicle.
    5.   Not obeying the secondary Officers command to exit the vehicle.
    6.   Continually questioning the authority of CBP to examine his vehicle.




                                                  CBP 048
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 49 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 50 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 51 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 52 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 53 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 54 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 55 of 76
Case 1:23-cv-00257-EAW-MJR     Document 58-1    Filed 09/23/24   Page 56 of 76



On 03/19/2013 a vehicle plated ON/           entered NEXUS lane 18. The
vehicle
        ven by BOROWSKI, MATTHEW (DOB:            /COC:U.S.) K-9 officer

                                             During primary K-9 inspection
of the
vehicle, BOROWSKI became argumentative about the K-9 exam. BOROWSKI was
referred to secondary to contiune the inspection. When BOROWSKI arrived
to
the secondary parking lot, he was meet by officer          Officer
tried
to instruct BOROWSKI to park when BOROWSKI became even more argumentative
and
irate about the inspection and refused to get off his cellphone after
being
asked three times. At that time Officer         radioed for assistance.
When
additional officers arrived, BOROWSKI became compliant and was asked to
exit
the vehicle. BOROWSKI was escorted to the secured secondary area. A K-9
exam
and              inspection of the vehicle yeilded negative results. SCBPO
       was present for the escort from the outside SLEEC position and made
CHIEF           aware of the incident. BOROWSKI was interviewed by CHIEF
          in secondary. After the interview, BOROWSKI was released as a
returning U.S.C.


Chief Notes: When speaking with Mr. Borowski on 3/19/2013, I reviewed
NEXUS program and NEXUS
lane procedures and violations to include that NEXUS card holders are
subject to inspection.
I explained that committing NEXUS violations, including failing to comply
with any part of the
inspection process, could result in revocation of NEXUS status. During
our discussion Mr.
Borowski was courteous and apologetic, at no time did he make derogatory
comments about the
officers and stated they were professional at all times during his
inspection. At the
conclusion of our conversation, Mr. Borowski thanked me for taking the
time to review the
NEXUS process with him. Prior to Mr. Borowski’s release, I confirmed
with secondary officers
that they had completed the inspection and Mr. Borowski was released as a
US citizen.




                                   CBP 056
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 57 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 58 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 59 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 60 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 61 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 62 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 63 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 64 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 65 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 66 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 67 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 68 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 69 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 70 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 71 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 72 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 73 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 74 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 75 of 76
Case 1:23-cv-00257-EAW-MJR   Document 58-1   Filed 09/23/24   Page 76 of 76
